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                                           No. 23-1078


                   IN THE UNITED STATES COURT OF APPEALS
                           FOR THE FOURTH CIRCUIT
                          _____________________________________________

                   B.P.J., by next friend and mother, HEATHER JACKSON,

                                      Plaintiff-Appellant / Cross-Appellee,

                                                v.

                  WEST VIRGINIA STATE BOARD OF EDUCATION; HARRISON
                 COUNTY BOARD OF EDUCATION; W. CLAYTON BURCH, in his
                  official capacity as State Superintendent; DORA STUTLER,
                 in her official capacity as Harrison County Superintendent,

                                                     Defendants-Appellees,

                                               and

               WEST VIRGINIA SECONDARY SCHOOL ACTIVITIES COMMISSION,

                                    Defendant-Appellee / Cross-Appellant,

                                               and

                    THE STATE OF WEST VIRGINIA, LAINEY ARMISTEAD,

                                                     Intervenors-Appellees.
                          _____________________________________________

                        On Appeal From The United States District Court
                           For The Southern District Of West Virginia
                              Case No. 2:21-cv-00316 (Goodwin, J.)


                          APPELLEES’ RESPONSE BRIEF AND
                         CROSS-APPELLANT’S OPENING BRIEF
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                            JURISDICTIONAL STATEMENT

              On January 5, 2023, the district court granted summary judgment for
        the West Virginia State Board of Education, W. Clayton Burch, the Harrison
        County Board of Education (“HCBOE”), Dora Stutler, the State of West

        Virginia, and Lainey Armistead. It denied summary judgment for B.P.J. and
        the West Virginia Secondary School Activities Commission (“WVSSAC”).
        B.P.J. and WVSSAC timely noticed appeals on January 23, 2023 and February

        1, 2023, respectively. JA4289, JA4291.
              The district court had subject-matter jurisdiction under 28 U.S.C.
        §§ 1331 and 1343. This Court has subject-matter jurisdiction under 28 U.S.C.

        § 1291.




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                                STATEMENT OF THE ISSUES

              Biological males have recently competed in female school sports,

        depriving biological females of athletic opportunities. West Virginia passed
        H.B. 3293 (“the Act”), which designated sports teams based on biological sex.
        B.P.J. would prefer for the State to designate teams based on gender

        identity—even though that trait has concededly nothing to do with athletic
        performance.
              The issues presented are:

         1.   Does the Equal Protection Clause bar a State from designating sports
              teams based on biological sex?
         2.   Does Title IX bar a State from designating sports teams based on

              biological sex?
         3.   Did the district court err in finding that WVSSAC is a state actor and
              then denying WVSSAC’s motion for summary judgment on that basis?




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                                      INTRODUCTION

              For about as long as school sports have existed, everyone has recognized

        that sex-specific sports afford equal opportunities for young women. Without
        separation, “a substantial risk” exists that “boys would dominate the girls’
        programs and deny them the equal opportunity to compete in interscholastic

        events.” O’Connor v. Bd. of Ed. of Sch. Dist. 23, 449 U.S. 1301, 1307 (1980)
        (Stevens, J., in chambers). Yet biological males identifying as female have
        increasingly competed against—and beaten—females in women’s sports. High-

        school-girl sprinters in Connecticut, collegians swimming in the Ivy League, teen
        volleyball players in Hawaii, community-college basketball girls in California,
        and student-athletes elsewhere found themselves falling behind or failing to

        make the team. Fair play was at risk.
              H.B. 3293 offers an equitable solution while preserving the benefits of
        competition. The Act clarifies that—for purposes of sex-specific sports in West

        Virginia—“sex” means “biological sex” determined by “reproductive biology
        and genetics at birth.” W. VA. CODE §§ 18-2-25d(c)(1), (b). Echoing parts of Title
        IX’s implementing regulations, the Act then says women’s and girls’ sports

        teams based on “competitive skill” or “involv[ing] a contact sport” are not open
        to males. Id. § 18-2-25d(c)(2); 34 C.F.R. § 106.41(b).
              Believing that the law should have looked to gender identity rather than

        biology, B.P.J. claims the Act’s definitions violate both the Equal Protection
        Clause of the Fourteenth Amendment and Title IX of the Education
        Amendments of 1972. At first, the district court seemed to agree, and it


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        granted B.P.J.’s request for a preliminary injunction. But with the benefit of a
        full record, the district court changed course; it found that the Act complies

        with both the Constitution and Title IX. The district court recognized some
        commonsense truths. Among them: “on average, males outperform females
        athletically because of inherent physical differences between the sexes,” so

        defining sports teams by sex is an important government interest, and the Act
        appropriately advances that interest. JA4272. The district court thus vacated
        the preliminary injunction and entered summary judgment for the State

        defendants and an intervening athlete.
              On appeal, the full record again confirms that B.P.J.’s preferred
        definition of “sex” contradicts both the Equal Protection Clause and Title IX.

        Making gender identity the dividing line between “male” and “female” would
        undo the progress made in women’s sports, as biological men and women are
        not similarly situated in athletics. A gender-identity standard also would be

        difficult to administer and hinge on a characteristic that B.P.J.’s own expert
        concedes has nothing to do with sports. And B.P.J.’s fallback definition—
        focused on individual circumstances, Opening.Br.35—is problematic because it

        warps relevant legal standards. So not only does B.P.J. fail to show how a
        “biological sex” definition violates the Fourteenth Amendment or Title IX, but
        B.P.J. also fails to offer a viable alternative.

              This Court should affirm the district court’s decision on the Act and allow
        West Virginia to continue protecting its athletes.




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                                 STATEMENT OF THE CASE

                 A.   For decades, women’s sports took a backseat to men’s sports. Few

        females participated in school athletics—and if they did, they did so with lesser
        opportunities. Williams v. Sch. Dist. of Bethlehem, 998 F.2d 168, 175 (3d Cir.
        1993).

                 That changed when Congress passed Title IX of the Education
        Amendments of 1972. That law prohibits “discrimination” “on the basis of sex”
        in educational programs and activities that receive federal financial assistance.

        20 U.S.C. § 1681(a).         Regulations confirmed Title IX’s nondiscrimination
        principle applies to interscholastic athletics. See 34 C.F.R. § 106.41. And
        because males and females are often not similarly situated in athletics, Tuan

        Anh Nguyen v. INS, 533 U.S. 53, 73 (2001), Title IX allows—and sometimes
        requires—sex-specific athletic teams where selection is “based on competitive
        skill” or the activity is a contact sport. 34 C.F.R. § 106.41(b). In other words,

        Title IX acknowledges that “athletics require a gender conscious allocation of
        opportunities in the first instance” “[b]ecause men are not ‘qualified’ for
        women’s teams (and vice versa).” Neal v. Bd. of Trs. of Cal. State Univs., 198

        F.3d 763, 772 n.8 (9th Cir. 1999).
                 Title IX has been a success for female athletes. For high-school sports,
        girls’ participation rates are 11 times greater from pre-Title IX. Fast Facts:

        Title IX, NAT’L CTR. FOR EDUC. STAT., https://bit.ly/3MIAeiC (last visited Apr.
        24, 2023). And for college sports, women now make up 44 percent of all college
        athletes, compared to 16 percent pre-Title IX. Quick Facts about Title IX and


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        Athletics, NAT’L WOMEN’S L. CTR. (June 21, 2022), https://bit.ly/41eUaxC.
        Title IX and its complementary laws and regulations have afforded women

        “real opportunities” to compete, “not illusory ones.” Williams, 998 F.2d at
        175.
               But more recently, Title IX’s promise of equal opportunity for women

        and girls began breaking down, as biological males began competing in
        women’s sports. Consider Lia Thomas, a biological male swimmer on the
        University of Pennsylvania women’s swim team, who recently set several Ivy

        League records and became an NCAA champion.                 Katie Barnes, Penn
        Swimmer Lia Thomas Leaves Ivy League Meet a Four-Time Champion, but
        Questions Remain, ESPN (Feb. 20, 2022), https://es.pn/3zNFXML; Greg

        Johnson, Thomas Concludes Spectacular Season with National Title, PENN
        TODAY (Mar. 20, 2022), https://bit.ly/41lYqvh. Or consider CeCe Telfer, who
        won an NCAA championship in women’s hurdles in 2018 despite never making it

        to a championship while competing for the men’s team. Gillian R. Brassil & Jeré
        Longman, Who Should Compete in Women’s Sports? There Are ‘Two Almost
        Irreconcilable Positions,’ N.Y. TIMES, https://bit.ly/40zZlrp (Aug. 3, 2021). In

        Connecticut, two biological males recently took 15 high school track
        championships that would have otherwise gone to nine girls. The female athletes
        were demoralized and sued the State. See Complaint, Soule v. Conn. Assoc. of

        Schs., No. 3:20-cv-00201-RNC (D. Conn. filed Feb. 12, 2020). And a North
        Carolina school district forfeited all games against a volleyball team with a male
        athlete after that athlete spiked a ball into a girl’s face at an “abnormally fast”


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        speed, causing her head-and-neck injuries. See Caroline Downey, Female High-
        School Volleyball Athlete Suffers Serious Head Injury after Transgender Player

        Spikes     ‘Abnormally     Fast’     Ball,       YAHOO!    NEWS      (Oct.   22,   2022),
        https://bit.ly/3H9souZ. Considering events like these, West Virginia athletes
        “face[d] the hard decision of competing on an unfair playing field with heightened

        safety risks, or not competing at all.” JA4313; see also generally JA4307-4385
        (declarations from female athletes).
              B.     The Act was West Virginia’s effort to promote fair play among all

        the State’s athletes in line with Title IX’s promise.               The West Virginia
        Legislature passed the Act after noting the recent instances of biological male
        athletes competing in women’s sports at the international, national, and state

        levels. See, e.g., JA0154-0155; see also JA0214 (legislator noting constituent
        outreach about protecting women’s sports); accord Chris W. Surprenant,
        Accommodating Transgender Athletes, 18 GEO. J.L. & PUB. POL’Y 905, 906

        (2020) (explaining “recent” cases in which “transgender athletes” were
        “winning events, setting performance records, or otherwise impacting the
        outcome of competitions” that raised questions about whether and how to

        accommodate them). This concern was especially relevant in West Virginia,
        as West Virginia may have the highest per capita rate of transgender youth in
        the country. JODY L. HERMAN ET AL., WILLIAMS INST., AGE OF INDIVIDUALS

        WHO   IDENTIFY    AS     TRANSGENDER         IN THE       UNITED STATES 5 (2017),
        https://bit.ly/3oG8Gkh.    And the need for clarity was great.                Thus, the
        Legislature reasonably relied on “studies and anecdotes pertaining to different


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        locales,” Fla. Bar v. Went For It, Inc., 515 U.S. 618, 628 (1995), to preserve
        women’s sports in West Virginia.

              School sports teams in West Virginia have long designated athletic
        teams based on sex to ensure equal opportunities in athletics for females.
        Opening.Br.4. The Act reaffirms that framework. It starts with legislative

        findings that biological males and females are not “similarly situated” in sports.
        W. VA. CODE § 18-2-25d(a)(3).        These “inherent differences are a valid
        justification for sex-based classifications” to “promote equal athletic

        opportunities for the female sex.” Id. § 18-2-25d(a)(2), (5). After making these
        findings, the Act defines “biological sex,” “male,” and “female” based on
        “reproductive biology and genetics at birth.” Id. § 18-2-25d(b)(1)-(3). While the

        original bill text reached every sport, the ultimate Act matches language from
        Title IX’s implementing regulations, 34 C.F.R. § 106.41(b), saying only that
        women’s and girls’ sports teams based on “competitive skill” or “involv[ing] a

        contact sport” should not be open to males, W. VA. CODE § 18-2-25d(c)(2).
              Consistent with the goal to protect equality in female sports—and in line
        with the idea that girls sometimes played on boys teams before the Act, see

        JA0052 (noting a girl who played on the boys’ football team)—biological
        females who identify as males can play on boys’ or coed teams. A biological
        male who identifies as female can still play male sports while self-identifying

        as female. And the Act is singularly focused on sports, so biological males can
        identify as females and be treated accordingly at school—as B.P.J. has done
        and been. Opening.Br.8-9. It is only in sports—where biological sex has a direct


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        effect—that biological males cannot compete with females. See Bauer v. Lynch,
        812 F.3d 340, 350 (4th Cir. 2016) (explaining males and females are not “the same

        for the purposes of physical” activities).
              The Act, like the Equal Protection Clause and Title IX, recognizes the
        inherent and “enduring” physiological differences between males and females.

        United States v. Virginia, 518 U.S. 515, 533 (1996) (“VMI”).             Experts
        established that biological males are, on average, bigger, stronger, and faster
        than biological females. JA2493-2526; JA2860-2912. Men have 60% to 100%

        greater arm strength than women and 25% to 60% greater leg strength than
        women.     JA2499-2500.      Males are 10%-13% faster, “an overwhelming
        difference.” JA2501. Men’s advantage in jumping is even greater. JA2504.

        Males throw, hit, and kick faster and farther than females. JA2505. Even
        before puberty, “[b]oys exhibit advantages in athletic performance,” including
        in “cardiovascular endurance, muscular strength, muscular endurance,

        speed/agility and power tests,” and in activities like sprints, runs, jumps, push-
        ups, and grips. JA2514-2526.
              These differences also increase the risk of injury to females if biological

        males are allowed to compete against them. JA2861; JA2876-2908. Males
        wield “large average advantages in size, weight, and physical capacity over
        females,” and their performance advantage begins “[e]ven before puberty.”

        JA2861. Testosterone suppression does not “eliminate male physiological
        advantages relevant to performance and safety.” JA2885-2908. And females
        are more likely to sustain injuries like concussions and anterior cruciate


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        ligament injuries to begin with. JA2886-2897. “The addition of biologically
        male athletes into women’s contact sports will inevitably increase the risk of

        concussive injury to girls and women.” JA2893.
              Treatment has not been shown to eliminate “the pre-existing athletic
        advantage that prepubertal males have over prepubertal females in almost all

        athletic events.” JA2493. Even B.P.J.’s expert, Joshua Safer, relied on a study
        that showed differences: males who identify as female ran 1.5 miles 21% faster
        than natal females; after receiving gender-affirming hormone therapy, they

        still ran that distance 12% faster. JA2106. And “[b]ecause different sports
        require different types of physical performance,” Safer acknowledged studies
        suggesting “that the existence and extent of a performance advantage may

        vary from sport to sport,” even after hormone therapy. JA2106-2107.
              C.     Sports leagues have imposed limits, too. The NCAA, for example,
        allowed biological males to compete in women’s sports only if the males have been

        on testosterone suppression treatment for a year before competing on a women’s
        team. NCAA Transgender Policy Background, Resources, NCAA (Apr. 6, 2021,
        2:00 p.m.), https://bit.ly/410F4Mz. Other organizations go further. The World

        Athletics Council, the governing body for international track and field, requires
        biological males to compete in male sports unless they do not experience male
        puberty. Press Release, World Athletics, World Athletics Council Decides on

        Russia, Belarus, and Female Eligibility (Mar. 23, 2022), https://bit.ly/3GCsif3.
        The world governing body for swimming has required biological males to
        compete with males unless they have not experienced any part of male puberty.


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        FINA, POLICY    ON   ELIGIBILITY   FOR THE   MEN’S   AND   WOMEN’S COMPETITION
        CATEGORIES (2022), https://bit.ly/41jhYR3. Likewise, biological males “may not

        currently play women’s rugby.”       Transgender Guidelines, WORLD RUGBY,
        https://bit.ly/3mLd68Z (last visited Apr. 24, 2023). Other organizations are
        considering similar changes.

              States are also wrestling with the issue. Like West Virginia, at least 19
        other States have chosen to protect fairness and safety in women’s sports. See
        Trisha Ahmed, North Dakota Governor Signs Trans Athlete Bans Into Law, AP

        NEWS (Apr. 11, 2023), https://bit.ly/3KEaqlh.           More States—and even
        Congress—are considering similar laws.
              Consistent with history, the federal government had concluded that Title

        IX regulations “authorize single-sex teams based only on biological sex at birth—
        male or female—as opposed to a person’s gender identity.”           Letter from
        Kimberly M. Richey, Acting Ass’t Sec’y for Civil Rights, U.S. Dep’t of Educ.

        (Aug. 31, 2020), https://bit.ly/40BbJHF; see also Statement of Int. of the U.S.,
        Soule, No. 3:20-cv-00201-RNC (Mar. 24, 2020), ECF No. 75. But the Biden
        Administration recently proposed to make it illegal to require all males to

        compete in male sports, choosing instead to allow exceptions based on an
        individual’s age, competition level, and sport, something that B.P.J.’s theory
        forbids. See Nondiscrimination on the Basis of Sex in Education Programs or

        Activities Receiving Federal Financial Assistance: Sex-Related Eligibility
        Criteria for Male and Female Athletic Teams, 88 Fed. Reg. 22,860 (Apr. 13, 2023).




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        Even that proposal recognizes that interests like “fairness in competition” justify
        the kind of historical sex-based distinctions found in the Act. Id. at 22,860-61.

              D.    B.P.J., a 12-year-old biological male who identifies as female, sued
        to enjoin enforcement of the Act. B.P.J. argues that the Act’s sex-based
        distinction violates the Constitution’s Equal Protection Clause because it does

        not satisfy heightened scrutiny as applied to B.P.J. B.P.J. also says the Act
        violates Title IX because it purportedly treats males who identify as female
        worse than females, whom B.P.J. considers similarly situated students.

        Opening.Br.21.
              B.P.J. has not offered a consistent standard that the State should apply.
        B.P.J. sometimes advocates for an “individual circumstances” approach,

        claiming to be uniquely situated to girls because of the interventions B.P.J. has
        undergone. Opening.Br.35, 40-41. Other times, B.P.J. argues that biological
        males “are similarly situated to” biological females “for purposes of athletics

        at the moment they verbalize” their female identity—“regardless of their
        hormone levels.” JA4274. But in the end, B.P.J. requests a blanket rule:
        designating sports teams based on sex “discriminates based on transgender

        status” in every instance. Opening.Br.24. This rule would forbid sex-based
        considerations when they matter most.
              The trial court entered a preliminary injunction based on a few short

        declarations within two months of B.P.J. filing the lawsuit. JA0439-0453. The
        injunction allowed B.P.J. to compete in girls’ sports while litigation continued.
        The court also denied the defendants’ motions to dismiss. The parties then


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        engaged in extensive discovery, which included voluminous expert testimony
        and other substantial evidence.

              E.    After taking seven months to review the weighty record, the
        district court entered summary judgment for the State and other defendants.
        JA4256-4278. Thousands of pages of expert reports and studies confirmed

        that biology affects athletic performance. Even B.P.J.’s expert agreed that
        “gender identity … is not a useful indicator of athletic performance.” JA2319-2320.
        And although B.P.J. argued for “individual circumstances” because B.P.J. is on

        hormone-impacting drugs, scientists disagree on “whether and to what extent”
        taking such drugs will reduce male physiological advantages. JA4273; JA2514-
        2526 (describing studies showing boys have greater lean body mass, strength,

        speed, and cardiovascular endurance than girls even before puberty); JA2493
        (“[N]o published scientific evidence [shows] that the administration of puberty
        blockers to males before puberty eliminates the pre-existing athletic advantage

        that prepubertal males have over prepubertal females.”). So “after reviewing
        all of the evidence in the record, including B.P.J.’s telling responses to
        requests for admissions” acknowledging that some sex-separation was

        warranted, JA4274, the court held that the Act complies with both the
        Constitution and Title IX.
              Starting with the constitutional claim, the district court recognized that

        biological males have physiological advantages over biological females.
        JA4272-4274.    These “inherent” advantages—at least partly admitted by
        B.P.J.—make “biological males … not similarly situated to biological females”


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        in sports. JA4272, JA4277. The court rejected B.P.J.’s argument that B.P.J.’s
        individual circumstances should drive the case.            JA4273-4275.     “[A]

        transgender girl is biologically male and, barring medical intervention, would
        undergo male puberty like other biological males.” JA4273.
              Turning to the Title IX claim, the district court found that the Act—like

        Title IX—“authorizes sex separate sports … so long as overall athletic
        opportunities for each sex are equal.” JA4276. Title IX’s context shows that
        it was passed “to increase opportunities for women and girls in athletics.”

        JA4276.   The court found the Act satisfies Title IX’s requirements and
        advances its goals because B.P.J. is not “similarly situated to biological
        females for purposes of athletics,” and B.P.J. was “not excluded from school

        sports entirely” because male and coed teams remained available. JA4277.
              The district court denied a separate motion for summary judgment from
        WVSSAC. JA4261-4263. WVSSAC is a nonprofit private corporation that

        organizes and sponsors interscholastic sports programs in West Virginia.
        B.P.J. acknowledged that WVSSAC’s policies are gender-neutral, and nothing
        in WVSSAC’s policies would exclude B.P.J. from playing. JA0061. WVSSAC

        did not take any action as to B.P.J., and B.P.J. did not identify any future harm
        that WVSSAC will likely cause. WVSSAC also had no role in enacting the Act,
        and it has no future role in establishing regulations concerning its

        implementation. JA4245, JA3510. Thus, WVSSAC argued it is not a state
        actor because it does not receive federal funds, JA0491, and it could not be




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        subject to scrutiny under either the Equal Protection Clause or Title IX,
        JA0491. The district court found WVSSAC was a state actor anyway. JA4263.

              F.    Following the district court’s order, B.P.J. unsuccessfully sought
        an injunction pending appeal from the district court. JA4296-4302. That court
        reiterated that “separating athletic teams based on biology is substantially

        related to the state’s important interest in providing equal athletic
        opportunities to females, who would otherwise be displaced if required to
        compete with males.” JA4299-4300. The court also said again that the Act,

        “which largely mirrors Title IX, [does not] violate[] Title IX.” JA4299-4300.
              A divided panel of this Court, however, issued a new injunction pending
        appeal. ECF No. 50. The Supreme Court later denied a request to vacate that

        injunction. West Virginia v. B.P.J., 143 S. Ct. 889 (2023). Justice Alito, joined
        by Justice Thomas, would have vacated the injunction because, among other
        things, the “application concern[ed] an important issue” that was likely to

        come before the Supreme Court “in the near future.” Id.

                            SUMMARY OF THE ARGUMENT

              The district court said it well: “The state is permitted to legislate sports
        rules … because sex, and the physical characteristics that flow from it, are

        substantially related to athletic performance and fairness in sports.” JA4273-
        7274. B.P.J. had to show that the Act’s sex distinction violated Title IX or the
        Constitution. B.P.J. did neither.




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              I.   B.P.J.’s equal-protection arguments fail. The Act clarifies what has
        long been the norm for competitive sports: Schools may preserve fairness and

        safety for female athletes by placing athletes on teams based on biological sex.
        Gender identity is not relevant to athletic performance. That the Act may
        affect transgender athletes does not mean that the law discriminates based on

        gender identity. Nor does it mean that the Court should jettison biological sex
        for gender identity as the only proper consideration for sorting out
        competitive sports teams. So in passing the Act, the West Virginia Legislature

        made a valid legislative judgment that complies with the Equal Protection
        Clause.
              II. Title IX also allows West Virginia to designate sex-specific sports

        teams. Title IX forbids schools from treating individuals “worse than others
        who are similarly situated” based on sex. Bostock v. Clayton Cnty., 140 S. Ct.
        1731, 1740 (2020). In athletics, B.P.J. is not “similarly situated” to biological

        females, and that dissimilarity dooms B.P.J.’s claim. Title IX’s text and
        purpose treat “sex” as a binary based on sexual biology. Still, B.P.J. urges the
        Court to extend Grimm v. Gloucester County School Board, 972 F.3d 586, 614

        (4th Cir. 2020), as amended (Aug. 28, 2020), to the athletic context. But
        Grimm confronted a dearth of evidence and said the bathroom policy there
        was rooted in gender stereotypes. In contrast, an extensive record backs the

        Act, and the law addresses material biological differences.
              On these issues, the Court should affirm.
                                            * * * *


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              III. WVSSAC also argues that B.P.J.’s equal-protection claim is not
        viable against it for a separate reason: WVSSAC is a private corporation that

        has not acted relative to B.P.J. Thus, it cannot have been engaged in “state”
        action.   WVSSAC has not excluded, denied benefits to, or discriminated
        against B.P.J. And WVSSAC does not receive federal funds, so it is not

        subject to Title IX.
              On this issue, WVSSAC contends the Court should reverse or,
        alternatively, vacate the district court’s finding that WVSSAC is a state actor.

                                   STANDARD OF REVIEW

              This Court reviews a summary judgment ruling and “a constitutional
        challenge to a statute” de novo. Multi-Channel TV Cable Co. v. Charlottesville
        Quality Cable Corp., 65 F.3d 1113, 1119, 1123 (4th Cir. 1995).

                                        ARGUMENT
         I.   The Act Satisfies The Equal Protection Clause.

              B.P.J.’s equal-protection claim turns on the false idea that the Act
        excludes males who identify as female from sports—and that the Constitution

        will not stomach a “categorical” decision to designate school sports teams by
        the category of “biological sex.” Opening.Br.17; W. VA. CODE § 18-2-25d(a)(4).
        But B.P.J. offers shifting versions of what line would be constitutionally

        allowed—intervention before puberty, testosterone suppressants after, or
        other case-by-case assessments—without explaining where the Constitution
        draws the line between these and a host of other options. That’s the problem.



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              The Constitution does not require States to reject sex distinctions when
        accounting for sex differences is critical to ensuring equal opportunities. Here,

        West Virginia made a valid legislative judgment.               The district court
        understood that its role was to test whether the detailed record supports the
        West Virginia Legislature’s finding that biologically male and female students

        “are not in fact similarly situated” in “sports involving competitive skill or
        contact.”   Id. § 18-2-25d(a)(3)-(4).     It does.      The Act accommodates
        physiological differences rooted in biological sex in a context where those

        differences matter. Because the Constitution allows that choice, the Court
        should affirm.

              A. The Act designates students to sports teams by sex, not gender
                 identity.

              B.P.J. challenges the Act by incorrectly saying it distinguishes by
        gender identity. Opening.Br.20, 23 (arguing the Act designates “sports based

        on their transgender status.”). Yet that premise is wrong. The Act is a sex-
        based classification that affects all biologically male students equally, no
        matter how they identify.

              1. In analyzing equal-protection claims, courts look to “the statutory
        classification itself,” not to how a challenger depicts it. Califano v. Boles, 443
        U.S. 282, 293-94 (1979). The district court recognized that this part of the

        analysis is easy: The Act “plainly separates student athletes based on sex.”
        JA4269. By its own terms, the Act places students on sports teams “based on
        biological sex”—that is, each student’s “male or female … reproductive


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        biology and genetics” as determined “at birth.” W. VA. CODE §§ 18-2-25d(b),
        (c)(1). Teams designated for males may be open to females, but not vice versa.

        Id. § 18-2-25d(c)(2)-(3). Students born as male compete on male or coed public-
        school teams no matter how they identify.
              The statute’s classification by sex is consistent with the Constitution’s

        equal-protection demand. Many laws do the same. The key is that these laws
        reject sex-based stereotypes and instead “realistically reflect[] the fact that
        the sexes are not similarly situated in certain circumstances.” Michael M. v.

        Super. Ct. of Sonoma Cnty., 450 U.S. 464, 469 (1981). After all, physiological
        differences between the sexes are real and “enduring.” VMI, 518 U.S. at 533.
        Sex can thus “represent[] a legitimate, accurate proxy” to pursue a permissible

        legislative end. Craig v. Boren, 429 U.S. 190, 204 (1976). The Constitution
        forbids laws classifying by sex for reasons “wholly unrelated to the objective
        of the statute”—like one preferring male over female estate administrators.

        Reed v. Reed, 404 U.S. 71, 76 (1971). But laws can constitutionally impose “a
        different set of rules” to prove biological parenthood because of “the unique
        relationship of the mother … to birth.” Nguyen, 533 U.S. at 63-64. They can

        also punish males more harshly for having sex with underage females because
        of pregnancy risks that affect biological females only. Michael M., 450 U.S. at
        471-73.

              Sports is an area where it makes sense for laws to “classify on the basis
        of biological sex without unlawfully discriminating on the basis of transgender
        status” or gender identity. Adams ex rel. Kasper v. Sch. Bd. of St. Johns Cnty.,


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        57 F.4th 791, 809 (11th Cir. 2022). B.P.J. “recognizes the benefits of sex-
        separated athletics,” JA4269, and B.P.J.’s expert agreed that gender identity

        is not “useful” for indicating “athletic performance,” JA2319-2320. Instead, in
        this physical context, “[t]he difference between men and women … is a real
        one.”     Nguyen, 533 U.S. at 73.       Males and females “simply are not

        physiologically the same for the purposes of physical” activities, so
        “accommodations addressing physiological differences between the sexes are
        not necessarily unlawful.” Bauer, 812 F.3d at 350 (construing VMI). That

        reality is the driving purpose behind many sex-specific sports teams: “[D]ue
        to average physiological differences, males would displace females to a
        substantial extent if they were allowed to compete” together. Clark ex rel.

        Clark v. Ariz. Interscholastic Ass’n, 695 F.2d 1126, 1131 (9th Cir. 1982) (“Clark
        I”); see also Cape v. Tenn. Secondary Sch. Athletic Ass’n, 563 F.2d 793, 795
        (6th Cir. 1977) (per curiam) (without distinct teams, many biological “females

        would quickly be eliminated from participation and denied any meaningful
        opportunity for athletic involvement”).
                In this way, athletics are “distinctly different” from “admissions,”

        “employment,” or many other contexts that may “require[]” different
        analyses. Cohen v. Brown Univ., 101 F.3d 155, 177 (1st Cir. 1996). Even the
        district court—“hard-pressed to find many other contexts where one’s sex and

        gender are relevant legislative considerations”—recognized that “this one
        discrete context” is different. JA4266. B.P.J.’s schools and the State, after all,




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        have not distinguished on biological sex in other areas of B.P.J.’s life and
        school experience. See Opening.Br.8-9.

              The Act’s focus on “a ‘biological sex’ classification” does not discriminate
        “because of” gender identity; it “equate[s]” B.P.J., Opening.Br.26, with other
        students who share the same general physiological characteristics in an area

        where those differences matter.
              2. B.P.J.’s contrary arguments fail. First, saying the Act may affect
        transgender students more than others does not mean that the law classifies

        based on gender identity. Many laws “affect certain groups unevenly”; they
        are constitutional if they “treat[] them no differently from all other members”
        of the overall “class described.” Pers. Adm’r of Mass. v. Feeney, 442 U.S. 256,

        271-72 (1979). Although the Act affects biologically male athletes identifying
        as female, it treats them “no differently” from other biologically male athletes.
        For example, a law that favors veterans is not sex-based discrimination even

        if veterans are 98% male. Id. at 270, 274. Nor is “[t]he regulation of a medical
        procedure” that affects only one sex. Dobbs v. Jackson Women’s Health Org.,
        142 S. Ct. 2228, 2245-46 (2022). The same logic holds here. Because the Act

        applies equally to all biological males, a “lack of identity” exists between its
        sex-based classification and transgender persons. Adams, 57 F.4th at 809.
              At most, what B.P.J. calls a “categorical ban on transgender girls

        playing on girls’ school sports teams,” Opening.Br.2, is a contention that the
        Act disproportionately affects certain transgender girls. That effect cannot
        doom the Act. “The Equal Protection Clause … prohibits only intentional


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        discrimination; it does not have a disparate-impact component.” Ricci v.
        DeStefano, 557 U.S. 557, 627 (2009) (Ginsburg, J., dissenting).           Cases

        discussing “when a neutral law has a disparate impact” “signal[] no departure
        from the settled rule that the Fourteenth Amendment guarantees equal laws,
        not equal results.” Feeney, 442 U.S. at 273; see also Farm Lab. Org. Comm.

        v. Stein, 56 F.4th 339, 352 (4th Cir. 2022) (“[F]acially neutral laws must be
        treated as such, even when those laws are accompanied by disparate effects.”).
              In this context especially, disparate impacts are “an unavoidable

        consequence of a legislative policy that has … always been deemed to be
        legitimate.” Feeney, 442 U.S. at 279 n.25. B.P.J. disagrees, arguing Grimm
        held that sex-based distinctions “discriminate[] based on transgender status.”

        Opening.Br.24. But Grimm criticizes sex stereotypes; it does not forbid sex-
        based distinctions when sex is relevant. 972 F.3d at 608-10. And if disparate
        impact were enough to defeat a law, then countless lawful distinctions would

        fall—even when biological sex is “not a stereotype” that unfairly separates
        people otherwise similarly situated. Nguyen, 533 U.S. at 68; accord Adams,
        57 F.4th at 809; see also id. at 819 (Lagoa, J., specially concurring) (“[I]t is

        neither myth nor outdated stereotype that there are inherent differences
        between …male[s] and … female[s] and that those born male … have
        physiological advantages in many sports.”).

              A purported change in state policy also does not prove that the Act
        discriminates by gender identity and not, as it says, by biological sex. The
        district court correctly rejected this argument: classifying based on sex is fine


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        “if the classification is substantially related to an important government
        interest.” JA4270. West Virginia schools have long separated athletic teams

        based on sex—protecting a historically disadvantaged group’s opportunities.
        E.g., Opening.Br.12; see also Cohen, 101 F.3d. at 177 (saying it has long been
        the “norm” to designate teams by sex). It was only after biologically male

        athletes started competing in women’s sports at the international, national,
        and state levels that West Virginia’s Legislature clarified that “sex” means
        “biology.” See JA4303-4385; see also JA1459-1460 (describing recent instances

        in West Virginia in which biological boys inquired about competing with girls).
        B.P.J. argues this clarification was a marked change because a prior internal,
        informal WVSSAC Board policy allowed transgender students to play on

        teams consistent with their gender identity if their school agreed and no other
        school objected.    Opening.Br.12-13.        But B.P.J. also admits “no known
        examples [exist] of this policy having been used”—in other words, biologically

        male students played on boys’ and men’s sports teams before the Act.
        Opening.Br.13. The Act ensures that rule still applies today.
              3. The Act could be gender-identity discrimination in disguise if anyone

        had proof that “an unconstitutional purpose [were] at work.” Feeney, 442 U.S.
        at 273 (emphasis added). B.P.J. aims for that purpose by maligning the Act as
        a “product of fear and dislike of transgender people.” Opening.Br.15; see also

        id. at 29-31; N.Y.Amici.Br.26 (same). This attack fails, too.
              For one thing, the district court explained that B.P.J. did not argue
        below “that the law is unconstitutional under the Supreme Court’s animus


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        doctrine.” JA4264. The argument is thus forfeited. In re Under Seal, 749
        F.3d. 276, 285 (4th Cir. 2014) (explaining forfeiture in civil cases). Nor could

        B.P.J. meet the high standard on the merits. Discriminatory purpose “implies
        more than intent as volition or intent as awareness of consequences,” but a
        deliberate choice to “select[] or reaffirm[] a particular course of action”

        because of its consequences for a particular group. Bray v. Alexandria
        Women’s Health Clinic, 506 U.S. 263, 271-72 (1993). It reflects a “bare …
        desire to harm” “a politically unpopular group.” City of Cleburne v. Cleburne

        Living Ctr., 473 U.S. 432, 447 (1985); see also Hayden v. Grayson, 134 F.3d
        449, 453 (1st Cir. 1998) (explaining that “competent evidence of purposeful
        discrimination” is required to satisfy the “onerous” “burden” of proving

        “discriminatory purpose” (cleaned up)).
              B.P.J. emphasizes it suffices if a law is passed “in part” because of its
        discriminatory effects. Opening.Br.30 (quoting Feeney, 442 U.S. at 279). Even

        so, B.P.J. must prove that “the decisionmaker, in this case a state legislature,”
        acted with that purpose. Feeney, 442 U.S. at 279. Yet as the district court
        explained, even if one legislator may have harbored “private bias” or “moral

        disapproval,” the record does not “contain evidence of that type of animus
        more broadly throughout the state legislature.” JA4264; see also United
        States v. O’Brien, 391 U.S. 367, 384 (1968) (“What motivates one legislator to

        make a speech about a statute is not necessarily what motivates scores of
        others to enact it, and the stakes are sufficiently high for us to eschew
        guesswork.”). Rather, other parts of the record show that many legislators


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        did not act from improper intent. One delegate, for example, stressed that
        “trying to place guardrails” in sports “does not mean that individuals of this

        committee or of this body do not respect someone, do not have dignity for
        someone, despite whatever their gender might be.” JA0114; see also JA0150
        (“West Virginia just wants to be fair. We’re not trying to discriminate against

        anybody.”); JA0156 (explaining that the Act is “not just one sided” because
        athletes who might lose “the ability to obtain a scholarship to college, or to be
        able to participate in … a state event or a national event … [because of] unfair

        competitive advantage … suffer too”); JA0218 (“This isn’t against anyone. It
        is … for the policy of helping our girls, helping our women have the
        opportunity.”).

              This is not the “stuff out of which … invidiously discriminatory animus
        is created.” Bray, 506 U.S. at 274; contrast with Romer v. Evans, 517 U.S.
        620, 632 (1996) (finding that a law was motivated by animus because it was

        “inexplicable by anything but animus”). It is a commonsense rule that protects
        female athletes.

              B. The Act is a constitutional sex-based classification.

              The Equal Protection Clause does not eliminate the State’s power to
        classify, but “measure[s] the basic validity of the legislative classification.”

        Feeney, 442 U.S. at 271-72. The Act passes muster.
              Sex is not “a proscribed classification.” VMI, 518 U.S. at 533. Instead,
        sex-based distinctions trigger intermediate scrutiny. City of Cleburne, 473

        U.S. at 440. Equal protection demands that a sex-based distinction serve an

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        “important” government objective and that the “means” the State chooses
        “substantially relate[] to” that goal. Nguyen, 533 U.S. at 60. A perfect fit is

        not required, only a substantial one. Id. at 70. The “alternative chosen may
        not maximize equality, and may represent trade-offs between equality and
        practicality. But … even the existence of wiser alternatives than the one

        chosen does not serve to invalidate” a policy that “is substantially related to
        the goal.” Clark I, 695 F.2d at 1131-32 (citation omitted). Intermediate
        scrutiny, unlike strict scrutiny, does not require the government to prove that

        a classification is “‘narrowly tailored’” to “‘further compelling governmental
        interests.’” Johnson v. California, 543 U.S. 499, 505 (2005) (citation omitted).
              Here, the Act serves the important interest of promoting fair and safe

        athletic opportunities for biologically female athletes, and it appropriately
        accommodates physiological differences between the sexes rooted in biology
        by using a biology-based sex classification to designate school teams. The Act

        explains that classifying teams by sex “promote[s] equal athletic opportunities
        for the female sex.” W. VA. CODE § 18-2-26d(a)(5). In this way, the Act follows
        Title IX, which “paved the way for significant increases in athletic

        participation for girls and women.” Adams, 57 F.4th at 818 (Lagoa, J.,
        specially concurring) (cleaned up). Below, “even B.P.J. agree[d] that the state
        has an important interest in providing equal athletic opportunities for female

        students.” JA4269; see also JA4265 (B.P.J. “admits that there are benefits
        associated with athletics, including when such athletics are provided in a sex-
        separated manner” (cleaned up)). B.P.J. does not disavow those concessions


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        here. Opening.Br.37. Designating sex-specific sports to promote that end
        helps “advance full development of the talent and capacities” of women and

        girls. VMI, 518 U.S. at 533. Especially when the parties agree on the
        advantages      from   sex-differentiated    sports,   JA4269;     Opening.Br.26,
        acknowledging the line is a valid legislative choice. It’s “not a stereotype,”

        unfairly separating people otherwise similarly situated. Nguyen, 533 U.S. at
        68. “There is no question,” then, that fair athletic opportunity is an “important
        governmental interest.” Clark I, 695 F.2d at 1131.

              The outcome therefore hinges on the Act’s fit.           The district court
        correctly held that the Act stands “because sex, and the physical
        characteristics that flow from it, are substantially related to athletic

        performance and fairness in sports.” JA4273-4274.
              1. The Act’s classification holds up as a general matter. The district
        court recognized that “B.P.J.’s issue here is not with the state’s offering of

        girls’ sports and boys’ sports,” but “with the state’s definition of ‘girl’ and
        ‘boy.’” JA4265. In other words, B.P.J. objects to where the state legislature
        drew the line, not the fact that the line exists. But the district court rightfully

        refused to issue a “legal declaration that a transgender girl is ‘female.’”
        JA4265. Like the West Virginia Legislature, see W. VA. CODE § 18-2-25d(a)(4),
        the lower court recognized that “sex and gender are related” but “not the

        same,” JA4271. See also Bostock, 140 S. Ct. at 1746-47 (noting “transgender
        status” is a “distinct concept[] from sex”); Grimm, 972 F.3d at 594
        (distinguishing “gender identity” from “sex-assigned-at-birth”). Generally


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        speaking, “a person either has male sex chromosomes or female sex
        chromosomes,” and sex chromosomes, in turn, determine much of what is

        relevant in sex-based sports performance. JA4271-4272. Yet not everyone’s
        “gender identity is in line with [the] biological sex” those chromosomes
        represent. JA4271. Even so, “a transgender girl is biologically male,” and

        notwithstanding gender identity, “biological males generally outperform
        females athletically.” JA4273.
              It is not true that “whether the challenged class is constitutionally valid

        with respect to the excluded group”—“transgender females”—is “a question
        unasked by the District Court.” Opening.Br.32. The lower court found that
        transgender girls, being biologically male, have the same biological

        characteristics that justify the Act’s choice to designate sex-specific teams.
        JA4273-4274. Recall that B.P.J.’s expert agreed that gender identity is not a
        “useful” metric for gauging “athletic performance.” JA2319-2320. And given

        B.P.J.’s concession “that circulating testosterone in males creates a biological
        difference in athletic performance,” the district court “d[id] not see how [it]
        could find that the state’s classification … is not substantially related to its

        interest in providing equal athletic opportunities for females.”         JA4272
        (emphasis added). The Act thus does not traffic in mere “generalizations” with
        some “statistical support.” Opening.Br.36 (cleaned up). It turns on conceded

        biological realities.
              2. The choices and circumstances of some transgender females do not
        invalidate the Act’s distinction, either.


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              First, a potential disconnect in a few cases between the Act’s purposes
        and fit would not be reason to strike it down. “None” of the Supreme Court’s

        “gender-based classification equal protection cases have required that the
        statute under consideration must be capable of achieving its ultimate objective
        in every instance.” Nguyen, 533 U.S. at 70. The relevant inquiry is “not

        whether the statute is drawn as precisely as it might have been, but whether
        the line chosen … is within constitution limitations.” Michael M., 450 U.S. at
        473 (plurality op.). Athletic advantages sound in biological sex, and even

        puberty-blocking interventions do not erase that advantage. The Act is, at a
        minimum, “substantially” tied to the State’s interest in fair athletic
        opportunity.

              Second, too much variety persists within the class of “transgender girls”
        to make subclasses like “transgender girls who take puberty blockers”
        constitutionally workable. B.P.J. challenges the Act’s fit by saying that some

        biological males become “similarly situated” to biological girls when they
        identify as female and take drugs to mitigate male puberty. Opening.Br.9, 13-
        14, 19, 21. But some “may have difficulty accessing” those drugs; others may

        not want them, “choos[ing] to only transition socially”; still others may not
        identify as female until after puberty. JA4273; see also U.S.Amici.Br.11 (only
        “some” transgender females take drugs). B.P.J. has no answer for biological

        men who take these same drugs for different medical reasons of their own.
              The district court did not reach its conclusion by speculation. Among
        “all of the [record] evidence” it considered, JA4266, was testimony from


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        B.P.J.’s doctor and experts showing that “gender identity” is an unworkable
        substitute for biological sex when it comes to sports classifications. B.P.J.’s

        doctor called gender “a spectrum” with “no solid number” of genders on it—
        “more … than we understand, can conceptualize[,] or can count”—but at least
        27 she could name from memory. JA4485-4486. Gender is “fluid,” she said,

        because it’s tied to an “individual’s definition of themselves,” JA4486, and this
        fluidity means that “how people understand [and] experience [gender identity]
        and express it can change over time,” JA0579. Yet B.P.J. offers the Court no

        method to determine how a gender-identity based classification would work in
        athletics.
              Third, even looking at biological males in B.P.J.’s circumstances would

        not doom the Act. B.P.J. says that the Act uses factors that “have no bearing
        on the average physical differences” that provide athletic advantage and that
        “no evidence” shows biological sex has “any demonstrated effect on athletic

        ability.” Opening.Br.40. Bold claims—but because B.P.J. concedes that the
        vast majority of biological men can be excluded, B.P.J. has admitted that
        biological sex is an accurate proxy for athletic performance.

              “[T]he thousands of pages” of record evidence confirm the decisive
        concession. JA4273. Dr. Gregory Brown explained, for instance, that “much
        data” and “multiple studies” show that “significant physiological differences,

        and significant male athletic performance advantages in certain areas, exist
        before significant developmental changes associated with male puberty have
        occurred.” JA2514. The “seminal work on the physiology of elite young female


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        athletes” concluded that differences in “bone density, body composition,
        cardiovascular function, metabolic function, and other physiologic factors that

        can influence athletic performance” mean that “[y]oung girl athletes are not
        simply smaller, less muscular boys.” JA2514. Other studies showed key
        differences at various periods of life, often starting well before puberty. See

        JA2514-2526 (birth to five months, between three and eight years old,
        measurements starting at ages seven and eight). In a footnote, even B.P.J.
        admits this evidence exists; B.P.J. claims the differences the studies show are

        “modest” and might be “attributable to … social causes.” Opening.Br.42 n.7.
        But modest does not mean nonexistent, and “mere speculation” does not
        create a genuine factual dispute. Beale v. Hardy, 769 F.2d 213, 214 (4th Cir.

        1985). Nor was the State required to establish that those “who receive
        puberty-delaying treatment followed by gender-affirming hormone therapy”
        perform better on average than biological females as a group. Opening.Br.41.

        “[N]o published scientific evidence [shows] that the administration of puberty
        blockers to males before puberty eliminates pre-existing athletic advantage.”
        JA2545 (emphasis added). B.P.J. overlooks pre-existing advantages entirely.

              3. Lastly, the district court understood how far B.P.J.’s logic extends.
        After (again) “reviewing all of the evidence” and B.P.J.’s “telling responses to
        requests for admission,” the court found “B.P.J. really argues that

        transgender girls are similarly situated to cisgender girls for purposes of
        athletics at the moment they verbalize their transgender status, regardless of
        their hormone levels.” JA4274. Similarly, B.P.J. conceded that the State may


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        exclude biological males from women’s teams even when physiological or other
        factors (like naturally low testosterone levels or a disability that affects

        performance) make their performance closer to the average girl’s than to the
        average boy’s. JA4274. B.P.J.’s theory would make self-declared identity
        decisive. Yet B.P.J. does not push for this outcome, at least not consistently.

        And this equivocation is telling: If it were true as a constitutional matter that
        sex-specific sports teams unlawfully discriminated based on gender identity,
        then everyone who identifies as female should be allowed to play on girls’

        teams, full stop. The problem, of course, is that little evidence supports going
        so far. Put aside that this approach would require discriminating based on
        gender identity—for instance, low testosterone, male-identifying students, no;

        low testosterone, female-identifying students, yes. Equal protection is turned
        upside down.
              A gender-identity rule of the sort preferred by B.P.J. would also erase

        the approaches used by many other entities wrestling with this same issue in
        real time. In just the past two years, athletic bodies in sports like swimming,
        triathlon, rugby, and cycling—including organizations like the National

        Collegiate Athletics Association and International Olympic Committee—have
        “either categorically barred biological males from elite women’s sports or
        tightened restrictions on them.” Supp’l Br. of Defs.-Appellants at 22-26,

        Hecox v. Little, Case Nos. 20-35813, 20-35815 (9th Cir. Feb. 21, 2023), ECF
        No. 201. Indeed, the World Athletics Council just issued new regulations
        prioritizing “fairness” and competitive “integrity” by “exclud[ing] male-to-


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        female transgender athletes who have been through male puberty” from
        certain international track and field events. Press Release, World Athletics,

        supra.   Even the federal government recently announced a proposed
        Department of Education rule that would allow schools to “adopt policies that
        limit transgender students’ participation” at least sometimes and for some

        sports, “particularly in more competitive high school and college” contexts.
        Sean Murphy & Hannah Schoenbaum, Biden sports plan angers transgender
        advocates, opponents, AP NEWS (Apr. 7, 2023), https://bit.ly/3UvDVu1.

              At bottom, this reduces to a policy judgment.         And “legislative …
        solutions are preferable.” Patsy v. Bd. of Regents of Fla., 457 U.S. 496, 513
        (1982); see also Exxon Shipping Co. v. Baker, 554 U.S. 471, 520 (2008)

        (“[L]egislatures are far better situated than … [c]ourt[s] to assess the
        empirical data, and to balance competing policy interests.”). A legislature’s
        “superior institutional competence” is especially important here, where people

        of good faith can (and do) disagree about the “policy considerations” at stake.
        Id.

              C. B.P.J.’s as-applied challenge does not change the legal test.

              Finally, the Court should not tailor the analysis to B.P.J.’s individual
        circumstances simply because the case includes an as-applied claim. That

        argument conflates the legal test—the Act’s treatment across a class
        generally—with the scope of relief—tailoring injunctions to a specific party.
              In truth, the “facial or as-applied” label “does not speak at all to the

        substantive rule of law.” Bucklew v. Precythe, 139 S. Ct. 1112, 1127 (2019). A

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        statute’s validity always turns on how it relates “to the overall problem the
        government seeks to correct, not on the extent to which it furthers the

        government’s interests in an individual case.” Ward v. Rock Against Racism,
        491 U.S. 781, 801 (1989); see also United States v. Edge Broad. Co., 509 U.S.
        418, 427 (1993) (explaining that equal-protection analysis does not depend on

        “whether the governmental interest is directly advanced as applied to a single
        person or entity”). As-applied or not, then, “broad legislative classification[s]
        must be judged by reference to characteristics typical of the affected classes

        rather than by focusing on selected, atypical examples.” Califano, 434 U.S. at
        55; see also, e.g., Harley v. Wilkinson, 988 F.3d 766, 769 (4th Cir. 2021)
        (refusing to consider claimant’s “individual characteristics” in as-applied

        Second Amendment challenge under intermediate scrutiny), abrograted on
        other grounds by N.Y. St. Rifle & Pistol Ass’n, Inc. v. Bruen, 142 S. Ct. 2111
        (2022).

              Challenges to sex-based classifications are no exception. The Supreme
        Court looks at a statute’s disparate treatment of men and women as a whole,
        not at a plaintiff’s individual circumstances. See, e.g., Nguyen, 533 U.S. at 53;

        VMI, 518 U.S. at 515; Miss. Univ. for Women v. Hogan, 458 U.S. 718 (1982).
        Equal-protection challenges in this context still focus on “the basic validity of
        the legislative classification” overall. Feeney, 442 U.S. at 272. So “[i]f the

        classification is reasonable in substantially all of its applications,” the policy
        cannot “be said to be unconstitutional simply because it appears arbitrary in
        an individual case.” O’Connor, 449 U.S. at 1306.


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              This authority explains why B.P.J.’s brief aims mostly at one category
        of students the Act affects—a subset of biologically male athletes.

        Opening.Br.3, 13, 17, 19-21, 33, 37-39, 41, 43-44. Plaintiffs bringing equal-
        protection claims “generally allege that they have been arbitrarily classified
        as members of an identifiable group.” Engquist v. Or. Dep’t of Agr., 553 U.S.

        591, 601 (2008) (cleaned up). B.P.J. is thus entitled to as-applied relief only if
        the Court concludes the Act is not substantially related to the State’s interests
        across the broader group. Emphasizing B.P.J.’s individual circumstances and

        choices wrongly shifts the test.      It would be one thing to say that the
        prevalence of puberty blockers across the class might perhaps affect the Act’s
        fit; B.P.J. has not argued as much, but the district court appreciated the

        significant class-wide differences here, anyway. JA4273. Yet it’s another
        thing to say that B.P.J.’s own choice to use puberty blockers is enough for an
        injunction. And even individually, B.P.J. ignores the possibility that B.P.J.

        may later choose to forego interventions or take up contact sports.
              Not even B.P.J.’s authority condones this doctrinal shift. Before the
        Supreme Court granted as-applied relief in City of Cleburne, for instance, it

        explained that it “should look to the likelihood that governmental action
        premised on a particular classification is valid as a general matter, not merely
        to the specifics of the case before” it. 473 U.S. at 446. In Lehr v. Robertson,

        463 U.S. 248, 267 (1983), the Court similarly used “the facts of [a specific] case”
        to “illustrate” how the challenged law generally discriminated against certain
        “unwed fathers” through “overbroad generalizations in gender-based


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        classifications.” Caban v. Mohammed, 441 U.S. 380, 394 (1979) (cleaned up).
        As for this Court’s precedent, the free-speech case B.P.J. cites granted facial

        relief under the ordinary substantive standard. White Coat Waste Project v.
        Greater Richmond Transit Co., 35 F.4th 179, 204 (4th Cir. 2022). When the
        Court does grant as-applied relief in free-speech cases, it still considers “fit”

        generally, not to a specific application. E.g., Washington Post v. McManus,
        944 F.3d 506, 513, 523 (4th Cir. 2019) (granting as-applied relief after
        concluding that fit was not “reasonable” where challenged statute “burdens

        too much and furthers too little”).
              Grimm is no different. The Court granted relief “as to Grimm” after
        explaining the challenged policy “rel[ied] on sex stereotypes” and other

        “overbroad generalizations.” 972 F.3d at 608-09. The same logic applies to
        anyone identifying as the opposite sex, not just Grimm. The Court nowhere
        purported to narrow the ordinary intermediate-scrutiny standard. Id. at 613

        (“[We] hold that the Board’s policy is not substantially related to its important
        interest in protecting students’ privacy.”).
              In truth, endorsing B.P.J.’s approach would dispense with four decades

        of intermediate-scrutiny precedent. Styling a complaint “as applied” would be
        enough to require a sex-based classification to be a perfect fit in “every
        instance,” effectively converting intermediate scrutiny into strict. Nguyen,

        533 U.S. at 70. Even B.P.J. seems to admit that that rule goes too far, rejoining
        that the “alternative to ‘narrow tailoring’ [under strict scrutiny] is not ‘no
        tailoring.’” Opening.Br.36. But no one—least of all the initially skeptical


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        district court—argues for that. After reviewing the full record, the lower court
        found that even for “transgender girl[s],” the “physical characteristics that

        flow from” biological sex are “substantially related” to West Virginia’s
        important interest. JA4274. The Act is a valid legislative judgment applied to
        B.P.J. and to everyone.

        II.    The Act Satisfies Title IX.

               B.P.J.’s Title-IX argument fails, too. B.P.J. starts by attacking a non-
        existent law, suggesting the Act “excludes B.P.J. from school sports.”
        Opening.Br.46, 51. The Act, of course, does no such thing—biological boys

        remain free to participate in either coed teams or male teams. The district
        court recognized that fact, too. JA4277. B.P.J.’s real complaint must be that
        the Act directs B.P.J. to male or coed school sports. Yet Title IX’s text and

        purpose allow schools to create sex-specific teams and make biological sex the
        dividing line. The Act continues Title IX’s legacy by applying a uniform law to
        all biological males to protect female athletes from unfair competition and

        increased safety concerns.     Unlike Grimm and Bostock, which involved
        targeted gender-identity discrimination, this case concerns a logical sex
        distinction that protects equal opportunities for women where sex is relevant.

        This Court should honor Title IX’s text, history, and purpose by upholding the
        Act.




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                 A. Title IX’s text, history, and purpose sometimes command sex
                    distinctions.

              Title IX allows and sometimes requires sex classifications because males

        and females are biologically different.       The West Virginia Legislature
        reiterated this fact when it passed the Act, which the district court recognized
        “largely mirror[ed] Title IX.” JA4277.

              1. Statutory interpretation starts and ends with the statute’s text if it is
        unambiguous. BedRoc Ltd. v. United States, 541 U.S. 176, 183 (2004). And
        Title IX is clear: No person “shall, on the basis of sex, be excluded from

        participation in, [or] be denied the benefits of … any education program or
        activity.” 20 U.S.C. § 1681(a). To “exclude” means “to shut out,” “hinder the
        entrance of,” or “bar from participation, enjoyment, consideration, or

        inclusion.” WEBSTER’S THIRD NEW INTERNATIONAL DICTIONARY 793 (1966).
        To “deny” means “to turn down or give a negative answer to.” Id. at 603.
        These words must be understood as applying to an “education program or

        activity,” including sports. Together, these words forbid schools from shutting
        out or hindering biological females from enjoying, participating in, or reaping
        educational benefits.

              Thus, Title IX sometimes requires States to account for sex. After all, an
        educational program “made up exclusively of one sex is different from a
        community composed of both.” VMI, 518 U.S. at 533 (cleaned up). Recognizing

        sex differences can be necessary for students to fully enjoy educational programs
        and activities.   See id. at 550 n.19 (noting that admitting women “would



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        undoubtedly require alterations necessary to afford members of each sex
        privacy from the other sex in living arrangements”). Or as Title IX’s principal

        sponsor put it, sometimes sex separation is “absolutely necessary to the success
        of the program—such as … in sports facilities.” 118 CONG. REC. 5,807 (1972).
              Considering all that, not all sex distinctions that “deny” or “exclude”

        violate Title IX. Once more: males and females are sometimes differently
        situated. VMI, 518 U.S. at 533 (cleaned up) (“Physical differences between
        men and women … are enduring: the two sexes are not fungible.”). For

        example, this Circuit has said that physical fitness standards that distinguish
        between sexes do not necessarily violate Title VII because “men and women
        simply are not physiologically the same.” Bauer, 812 F.3d at 350. Other courts

        have said the same of programs covered by Title IX. See, e.g., Kleczek v. R.I.
        Interscholastic League, Inc., 612 A.2d 734, 739 (R.I. 1992) (observing how
        males are “substantially taller, heavier and stronger than their girl

        counterparts”).
              2. Sex-specific sports give females “the chance to be champions.”
        McCormick ex rel. McCormick v. Sch. Dist. of Mamaroneck, 370 F.3d 275, 295 (2d

        Cir. 2004). As the district court found, and B.P.J. concedes, “biological males
        generally outperform females athletically.” JA4273; Clark I, 695 F.2d at 1131
        (“[D]ue to average physiological differences, males would displace females to

        a substantial extent if they were allowed to compete” together.); Kleczek, 612
        A.2d at 738 (“Because of innate physiological differences, boys and girls are
        not similarly situated as they enter athletic competition.”). If female athletes


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        are squeezed off teams or relegated to the back of the pack by “requiring them
        to prevail against men,” then that barrier “foreseeably preclude[s] their future

        participation” in sports. Mansourian v. Regents of Univ. of Cal., 602 F.3d 957,
        970 n.18 (9th Cir. 2010). Title IX recognizes this fact by allowing—and
        sometimes requiring—sex separation.

              Text in the regulations confirms the same. After passing Title IX,
        Congress passed the Javits Amendments, which directed the Health, Education,
        and Welfare department (the Department of Education’s predecessor) to make

        “reasonable provisions considering the nature of particular sports.” Pub. L. No.
        93-380, § 844, 88 Stat. 484, 612 (1974). In 1975, HEW issued its final regulations,
        which included the sports exception now codified at 34 C.F.R. § 106.41(b).

        Compare Nondiscrimination on the Basis of Sex Under Federally Assisted
        Education Programs and Activities, 40 Fed. Reg. 24,128, 24,142-43 (June 4, 1975),
        with 34 C.F.R. § 106.41.       The implementing regulations authorize sex-

        segregated teams “where selection for such teams is based upon competitive
        skill or the activity involved is a contact sport.” 34 C.F.R. § 106.41(b). All
        subject entities must also “provide equal athletic opportunity for members of

        both sexes,” id. § 106.41(c), which includes “levels of competition” that
        “effectively accommodate the … abilities of members of both sexes,” and equal
        opportunities for public recognition or “publicity” to both sexes, id.

        §§ 106.41(c)(1), (10) (emphasis added). If a school opens its teams to members
        of both sexes but girls do not make the teams or always place far behind, Title
        IX might require sex-specific teams. Letter to Chief State School Officers,


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        Title IX Obligations in Athletics, U.S. DEP’T         OF   EDUC. (Sept. 1975),
        https://bit.ly/3zNrFvq (stating a school would not comply with Title IX if it

        disbanded “its women’s teams and opened up its men’s teams to women, but
        only a few women were able to qualify for the men’s teams”).
              Title IX’s history also confirms that Congress never intended Title IX to

        require biological sex-blindness in sports. During Title IX’s drafting, some
        feared it would require mixed-sex sports teams. See Paul M. Anderson, Title
        IX at Forty: An Introduction and Historical Review of Forty Legal

        Developments That Shaped Gender Equity Law, 22 MARQ. SPORTS L. REV.
        325, 333 (2012). In response, Senator Bayh stated that Title IX did not
        “desegregate” anything, but merely “provide[d] equal access for women and

        men students to the educational process and extracurricular activities in
        school.” 117 CONG. REC. 30,407 (1971); Joe Brucker, Beyond Bostock: Title
        IX Protections for Transgender Athletes, 29 JEFFREY S. MOORAD SPORTS L.J.

        327, 341 (2022).
              Congress ratified this understanding again in 1987, defining Title IX’s
        educational programs to cover all educational programs, including sports. See 20

        U.S.C. § 1687(2)(A); Cohen v. Brown Univ., 991 F.2d 888, 894 (1st Cir. 1993)
        (explaining import of Restoration Act to sports). And Congress has left the
        regulations in place for five decades now—understanding that educational

        institutions sometimes need to recognize biological sex to ensure equal access.
        See McCormick, 441 U.S. at 287; A. SCALIA & B. GARNER, READING LAW: THE
        INTERPRETATION OF LEGAL TEXTS 322-26 (2012); see also, e.g., United States v.


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        Riverside Bayview Homes, Inc., 474 U.S. 121, 137 (1985) (“[A] refusal by
        Congress to overrule an agency’s construction of legislation is at least some

        evidence of the reasonableness of that construction.”). In much the same way,
        Congress chose to “retain the relevant statutory text” when amending Title IX
        in 1987, and that choice is “convincing support” that it “accepted and ratified” the

        “unanimous precedent” endorsing sex-specific sports around that time. Tex.
        Dep’t of Hous. & Cmty. Affs. v. Inclusive Cmtys. Project, Inc., 576 U.S. 519, 536
        (2015); see, e.g., Clark I, 695 F.2d at 1231 (volleyball); Williams, 998 F.2d at 169

        (field hockey); Forte v. Bd. of Educ., 431 N.Y.S.2d 321, 322 (N.Y. Sup. Ct. 1980)
        (volleyball).

              B. Title IX deals with sex, not gender identity.

              B.P.J. agrees that Title IX allows sex-based distinctions, at least

        sometimes. Opening.Br.26, 55 (“B.P.J. does not challenge sex-separation in
        sports.”). But B.P.J. disagrees on where that line is drawn—wanting to read
        “sex” to match only B.P.J.’s specific understanding of “gender identity.” Id. at

        55. B.P.J. never explains how Title IX’s text, purpose, or history supports this
        reading. For good reason: such an interpretation ignores the statute’s plain
        language and would undermine its purpose, which the district court correctly

        described as “promot[ing] sex equality.” JA4276.
              1. Text is the starting point. Title IX prohibits “discrimination” in
        educational programs and activities “on the basis of sex.” 20 U.S.C. § 1681(a).

        Title IX does not define “sex,” so the Court “look[s] to the ordinary meaning of the



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        word when it was enacted in 1972.” Adams, 57 F.4th at 812. This ordinary 1972
        meaning was “biological sex,” that is, male and female. See, e.g., AMERICAN

        HERITAGE DICTIONARY OF THE ENGLISH LANGUAGE (1976) (“The property or
        quality by which organisms are classified according to their reproductive
        functions.”); OXFORD ENGLISH DICTIONARY (re-issue ed. 1978) (defining “sex”

        as “[e]ither of the two divisions of organic beings distinguished as male and
        female respectively”); WEBSTER’S NEW WORLD DICTIONARY (1972) (“either of
        the two divisions, male or female, into which persons, animals, or plants are

        divided, with reference to their reproductive functions”); accord Neese v.
        Becerra, No. 2:21-cv-163-Z, 2022 WL 1265925, at *12 (N.D. Tex. Apr. 26, 2022).
        As the Supreme Court put it one year after Congress passed Title IX, “sex” is “an

        immutable characteristic” determined by “birth.” Frontiero v. Richardson, 411
        U.S. 677, 686 (1973). And again, the implementing regulations for athletics
        envision sex as a binary concept, requiring “separate [sports] teams for

        members of each sex,” 34 C.F.R. § 106.41(b), and directing schools to “provide
        equal athletic opportunity for … both sexes” to “effectively accommodate the
        interests and abilities of members of both sexes,” id. § 106.41(c) (emphases

        added).
              Congress repeatedly wrote accommodations for the “enduring”
        differences between males and females into Title IX. 20 U.S.C. § 1681, et seq.;

        see also Neese, 2022 WL 1265925, at *12 (Title IX “presumes sexual
        dimorphism”); accord Nondiscrimination on the Basis of Sex in Education
        Programs or Activities Receiving Federal Financial Assistance, 85 Fed. Reg.


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        30,026, 30,178 (May 19, 2020) (“Title IX and its implementing regulations include
        provisions that presuppose sex as a binary classification.”). For example, Title

        IX allows schools to change from admitting “only students of one sex” to
        admitting “students of both sexes.” 20 U.S.C. § 1681(a)(2) (emphases added); see
        also id. § 1681(a)(6)(B) (referring to “Men’s” and “Women’s” associations and

        organizations for “Boy[s]” and “Girl[s],” “the membership of which has
        traditionally been limited to persons of one sex”). Title IX also exempts
        “father-son or mother-daughter activities … but if such activities are provided

        for students of one sex, opportunities for reasonably comparable activities
        shall be provided for students of the other sex.” Id. § 1681(a)(8) (emphases
        added).   This provision not only speaks of “the other” sex—rather than

        “another” sex—but further ties them to biology-linked terms like “father-son”
        and “mother-daughter.”
              Indeed, Title IX “explicitly permit[s] differentiating between the sexes in

        certain instances,” Adams, 57 F.4th at 814—like for single-sex educational
        institutions and organizations, 20 U.S.C. § 1681(a)(1)-(9). And even where Title
        IX doesn’t imply a binary definition of sex with absolute clarity, id. § 1686

        (“separate living facilities for the different sexes”), the implementing regulations
        clarify educational institutions “may provide separate toilet, locker room, and
        shower facilities on the basis of sex, but such facilities provided for students of one

        sex shall be comparable to such facilities provided for students of the other sex.”
        34 C.F.R. § 106.33.




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              2. Equating sex with gender identity is not only atextual; it opposes Title
        IX’s purpose to prevent sex discrimination and protect educational opportunities.

        A text “cannot be divorced from the circumstances existing at the time [the statute]
        was passed, and from the evil which Congress sought to correct and prevent.”
        United States v. Champlin Refin. Co., 341 U.S. 290, 297 (1951). Naturally, “a

        textually permissible interpretation that furthers rather than obstructs the
        document’s purpose should be favored.” SCALIA & GARNER, supra, at 63.
              Many courts have recognized that “Title IX was enacted in response to

        evidence of pervasive discrimination against women with respect to educational
        opportunities” in a time when biological women were facing significant barriers.
        McCormick, 370 F.3d at 286; Williams, 998 F.2d at 175 (“[I]t would require

        blinders to ignore that the motivation for the promulgation of the regulation”
        was to increase opportunities for women and girls). This purpose “to prohibit
        the discriminatory practice of treating women worse than men” “is evident in the

        text itself.” Neese, 2022 WL 1265925, at *10 (quoting AT&T Mobility LLC v.
        Concepcion, 563 U.S. 333, 334 (2011)). And as shown above, Title IX operates in
        binary terms. If sex included gender identity like B.P.J. argues, Opening.Br.47,

        then Title IX’s regulations would not make sense. Protected opportunities for
        biological females would disappear. Mandating sex-blindness would make Title
        IX’s text and rules incoherent. Deborah L. Brake, Title IX As Pragmatic

        Feminism, 55 CLEV. ST. L. REV. 513, 535 (2007) (explaining a “[sex]-blind
        approach” “marginalizes and subordinates women” because it “would help only
        those women who are most ‘like’ men in their athletic interests and abilities and


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        who are able to succeed in a world of sport structured on men’s terms”). This
        Court should construe Title IX “so that effect is given to all its provisions, so that

        no part will be inoperative or superfluous, void or insignificant.” Corley v. United
        States, 556 U.S. 303, 314 (2009).
              In sum, Title IX’s text, statutory context, and purpose all focus on

        biology, not gender identity—a distinction the Supreme Court has recognized.
        Bostock, 140 S. Ct. at 1746-47 (noting “transgender status” is a “distinct
        concept[] from sex”).

              3. What’s more, tethering sex to biology makes practical sense.
        Biological sex offers a stable, objective definition of sex that serves as a near-
        perfect proxy for the physiological differences between males and females. But

        as noted already, “gender identity” resists coherent line drawing.
        “[T]ransgender” is “not [a] diagnos[i]s,” but a “personal” and “dynamic way[]
        of describing one’s own gender experience.”            Jason Rafferty, Ensuring

        Comprehensive Care & Support for Transgender & Gender-Diverse Children
        & Adolescents, 142 PEDIATRICS 1, 3 (Oct. 2018) (“AAP Statement”). A person
        may identify as “transgender” even though it “is not necessarily visible to

        others.”   Am. Psych. Ass’n, Guidelines for Psychological Practice with
        Transgender and Gender Nonconforming People, 70 AM. PSYCH. 832, 862
        (Dec. 2015) (“APA Guidelines”). Even “transgender” is not a neat label. It is

        often “an umbrella term” to include individuals who “decline to define
        themselves as gendered altogether.” Wylie C. Hembree et al., Endocrine
        Treatment       of     Gender-Dysphoric/Gender-Incongruent           Persons:     An


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        Endocrine Society Clinical Practice Guidelines, 102 J. CLINICAL
        ENDOCRINOLOGY & METABOLISM 3869 (Nov. 2017) (“Endocrine Society

        Guidelines”); APA Guidelines at 862. Finally, an individual’s gender identity
        “can be fluid, shifting in different contexts.” AAP Statement at 2.
              States cannot coherently classify sports teams based on private, “internal,”

        and “fluid” feelings that might not be “visible to others.” Designating teams
        based on gender identity would force States to define “sex” according to
        subjective and shifting perceptions largely rooted in sex stereotypes. Even

        B.P.J. seems to want a definition based in sex stereotypes, arguing that B.P.J.
        presents as female and “regularly finish[es] near the back of the pack.”
        Opening.Br.3-5. But that subjective assessment would force West Virginia to

        classify its sports teams based on whoever “walk[s] more femininely, talk[s]
        more femininely, dress[es] more femininely, wear[s] make-up, ha[s] her hair
        styled, and wear[s] jewelry.” Price Waterhouse v. Hopkins, 490 U.S. 228, 235

        (1989) (plurality op.), superseded by statute on other grounds 42 U.S.C.
        §§ 2000e-2(m), 2000e-5(g)(2)(B). Poor-performing male athletes identifying as
        male would have to be allowed to participate in girls’ sports, as they could claim

        to have “no ‘physical characteristics relevant to athletic performance’” that
        might distinguish them from (B.P.J.’s conception of) female-identifying
        teammates. Opening.Br.50. Such an approach embodies the very stereotypes

        Title IX confronts. Yet States need not define sex based on stereotypes.
        Defining “sex” based on biology serves the legitimate state interest of
        preserving fairness and affording safety for biologically female athletes.


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                C. Neither Bostock nor Grimm supports B.P.J.’s claim.

                Bostock and Grimm support the Act’s legality. Neither case conflated

        gender identity with biological sex the way B.P.J. attempts to do here. Nor
        did they involve a uniform law in a context where biological sex mattered; both
        cases involved targeted discrimination based on stereotypes. So it would be

        inappropriate to extend Bostock and Grimm given the distinct circumstances
        of those cases. (Nor has this Court already done so in a secret footnote
        holding. Contra Opening.Br.47 (citing Peltier v. Charter Day Sch., Inc., 37

        F.4th 104, 130 n.22 (4th Cir. 2022)).)
                1. Bostock’s understanding of Title VII does not forbid biological sex-
        specific sports under Title IX. Title VII and Title IX’s text and purpose confirm

        this.   Title VII “is a vastly different statute” from Title IX.        Jackson v.
        Birmingham Bd. of Educ., 544 U.S. 167, 168 (2005); Meriwether v. Hartop, 992
        F.3d 492, 510 n.4 (6th Cir. 2021) (“Title VII differs from Title IX in important

        respects.”).
                The differences in these statutes begin with their text. Title VII prohibits
        discrimination in “employment practice[s]” “because of … sex,” 42 U.S.C.

        § 2000e-2(a), while Title IX prohibits discrimination “under any education
        program” “on the basis of sex,” 20 U.S.C. § 1681(a). Bostock concluded that
        “because of … sex” means but-for causation, but “on the basis of sex” doesn’t

        mean the same thing—or impose the same laxer causation standard. Neese v.
        Becerra, No. 2:21-cv-163-Z, 2022 WL 16902425, at *12 (N.D. Tex. Nov. 11, 2022).
        Instead, “on the basis of sex” means that biological sex must be the sole reason


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        for the discrimination. Kouambo v. Barr, 943 F.3d 205, 211 (4th Cir. 2019) (use
        of “the” article implies a singular object).

              Even if the phrases were interchangeable, Title VII and Title IX’s different
        contexts warrant different outcomes here. “[T]he same words, placed in different
        contexts, sometimes mean different things.” Yates v. United States, 574 U.S. 528,

        537 (2015). By its very terms, Title VII concerns hiring and firing in the
        workplace, while Title IX focuses on “schools and children.” Adams, 57 F.4th at
        808. And Title IX expressly authorizes separation based on sex sometimes. For

        reasons like these, courts have cautioned against taking the “principles
        announced in the Title VII context [and] automatically apply[ing] [them] in the
        Title IX context.” Meriwether, 992 F.3d at 510 n.4.

              Bostock’s logic doesn’t work when it comes to sex-specific sports. Bostock
        held that “[a]n individual’s homosexuality or transgender status is not relevant
        to employment decisions” about hiring and firing. Bostock, 140 S. Ct. at 1741.

        When an employer takes an adverse action, “if changing the employee’s sex
        would have yielded a different choice by the employer[,] a statutory violation has
        occurred.” Id. But that is very different from Title IX, where an athlete’s

        biological sex is expressly relevant, often requiring sex-separated opportunities
        to account for physiological differences so as to provide fairness and safety to
        female athletes.

              In other words, though an employee’s sex isn’t “relevant to the selection,
        evaluation, or compensation of employees,” Bostock, 140 S. Ct. at 1741 (cleaned
        up), it “is not an irrelevant characteristic” in sports, Cohen, 101 F.3d at 178.


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        Without sex separation in sports, “the great bulk of the females would quickly be
        eliminated from participation and denied any meaningful opportunity for athletic

        involvement.” Cape, 563 F.2d at 795. Unlike Title VII, then, Title IX employs
        awareness of sex to help “allocate opportunities separately for male and female
        students.” Cohen, 101 F.3d at 177. If Bostock were blindly extended to school

        sports, a school would violate Title IX by adhering to Title IX. That would be an
        “absurd result[],” and one “the legislature did not intend.” Cage v. Harper, 42
        F.4th 734, 741 (7th Cir. 2022); see Clark ex rel. Clark v. Ariz. Interscholastic

        Ass’n, 886 F.2d 1191, 1193 (9th Cir. 1989) (“Clark II”) (finding that to achieve Title
        IX’s purpose of equal opportunity in athletics, Title IX must treat the sexes
        differently). That also explains why some courts have refused to read Title VII

        requirements into Title IX’s athletic context. See Cohen, 101 F.3d at 177. And it’s
        why Bostock itself stressed that it did not “sweep beyond Title VII to other federal
        or state laws that prohibit sex discrimination”—or address other issues that were

        not before the Court such as sex-specific “bathrooms, locker rooms, and dress
        codes.” 140 S. Ct. at 1753; cf. Pelcha v. MW Bancorp, Inc., 988 F.3d 318, 324 (6th
        Cir. 2021) (“[T]he Court in Bostock was clear on the narrow reach of its decision

        and how it was limited only to Title VII itself.”).
              2. Grimm did not craft a blanket rule that all biology-based distinctions in
        every context “discriminate[] based on transgender status.” Opening.Br.24.

        Such a rule would upend long-accepted practices in many parts of society: sex-
        separate prisons, rape trauma centers, and more. A blanket rule would upend
        this Court’s own rule in Bauer, too. Instead, Grimm said only that gender-


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        identity discrimination necessarily considered sex, and this line-drawing
        constituted sex discrimination when no genuine governmental interests

        supported it. Grimm, 972 F.3d at 616. It did not consider the lawfulness of
        reliance on biological sex (as opposed to gender identity) in circumstances where
        physiological differences, as opposed to sex stereotypes, matter. The Act’s

        definition does not treat B.P.J. “worse than others who are similarly situated.”
        Grimm, 972 F.3d at 618; see also Bostock, 140 S. Ct. at 1740. Like all biological
        males, B.P.J. can participate on male teams and cannot play on female teams.

              Grimm’s context matters.         Grimm involved a biological female who
        identified as male and wanted to use the men’s bathroom. School policy said that
        students must use the bathroom consistent with their biological sex. The Court

        held that this policy was based on unsupported “privacy concern[s] rooted in
        “fear[],” and it was specifically targeted at Grimm individually. Grimm, 972 F.3d
        at 614. The privacy concerns posed by a transgender student using the restroom

        were said to be the same as those of any other student. Id. Finally, the Court
        found that the school board “did not create a policy that it could apply to other
        students, such as students who had fully transitioned but had not yet changed

        their sex on their birth certificate.” Id. at 615.
              The facts here split from Grimm in every material way. The motivation
        behind the Act—a universal policy not targeted at any one student—is both

        rational and supported by the record, with studies showing the physiological
        differences between biological males (even those who identify as females) and
        biological females. And again, biological differences matter in sports, as it is “an


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        unusual if not unique institution … where the relevance of sex is undeniable, and
        where pretending that it is irrelevant ... will cause the very harm Title IX was

        enacted to address.” Doriane Coleman et al., Pass the Equality Act, but Don’t
        Abandon     Title    IX,   WASH.     POST     (April   29,    2019,   3:49    p.m.),
        https://wapo.st/3KQdI6l. Grimm held that biologically male students may use

        restrooms corresponding with their gender identity without decreasing
        opportunities or compromising the safety of biological females.        The record
        shows the same cannot be said in competitive or contact sports.

              Perhaps recognizing these inherent differences, B.P.J. again retreats to an
        individual circumstances argument: B.P.J. hasn’t gone through puberty yet, and
        pre-pubescent students should be treated differently. Opening.Br.21. But in the

        Title IX context, discrimination “means treating that individual worse than
        others who are similarly situated.” Grimm, 972 F.3d at 618 (citing Bostock, 140
        S. Ct. at 1740) (cleaned up)). Again: B.P.J. is not similarly situated to females in

        the context of sports, where biology determines who is “similarly situated.” To
        hold otherwise could require States to allow boys with low testosterone or limited
        athletic ability to compete on girls’ teams. B.P.J. also claims to be similarly

        situated to females because B.P.J. has “lived as a girl” in areas unrelated to
        athletics. Opening.Br.49. But an individual-circumstances rule would require
        schools to make more intrusive decisions on when it’s permissible for biological

        males to play female sports. And B.P.J.’s argument—especially the part that
        highlights B.P.J.’s lifestyle—ignores the science that suggests physiological
        differences exist between males and females even before puberty. JA4273;


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        JA2514-2526 (describing studies showing boys have greater lean body mass,
        strength, speed, and cardiovascular endurance than girls even before puberty);

        JA2493 (“[N]o published scientific evidence [shows] that the administration of
        puberty blockers to males before puberty eliminates the pre-existing athletic
        advantage that prepubertal males have over prepubertal females.”); see also,

        e.g., Alison K. Heather, et al., Transwoman Elite Athletes: Their Extra
        Percentage Relative to Female Physiology, 19 INT’L J. ENV’T RES. PUB.
        HEALTH 9103 (2022); Courtney Megan Cahill, Sex Equality’s Irreconcilable

        Differences, 132 YALE L.J. 1065, 1084 (2023). B.P.J.’s theory demands the State
        intrude more into the privacy of the State’s athletes while still not ensuring
        competitive fairness or safety.

              West Virginia wants to avoid those invasive actions and regulate athletics
        based on an administrable test. The Act offers such a test, which adheres to the
        text, purpose, and history of Title IX. The district court recognized this. See

        JA4276 (“Title IX authorizes sex separate sports in the same manner as [the
        Act].”). This Court should, too.*


        *
          Dora Stutler (a defendant to the constitutional claim) and HCBOE (a
        defendant to the Title IX claim) also offer alternative grounds for affirmance
        specific to them. See ECF Nos. 281, at 8-19; 301, at 4-20; 336, at 5-15. First,
        B.P.J. challenges no policy or practice of the HCBOE; rather, B.P.J.
        challenges only the Act, that is, a state law. “[A] recipient of federal funds may
        be liable in damages under Title IX only for its own misconduct. The recipient
        itself must ‘exclude persons from participation in, . . . deny persons the
        benefits of, or . . . subject persons to discrimination under’ its ‘programs or
        activities’ in order to be liable under Title IX.” Davis Next Friend LaShonda


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       III.   The District Court Erred In Finding That WVSSAC Is A State Actor
              And In Denying WVSSAC’s Motion For Summary Judgment.

              Cross-Appellant WVSSAC raises certain arguments on its own behalf.

        WVSSAC has no role here. The record reflects no WVSSAC conduct relative
        to B.P.J. WVSSAC was not involved in the enactment of the Act. JA4245.



        D. v. Monroe Cty. Bd. of Educ., 526 U.S. 629, 640-41 (1999) (cleaned up); accord
        Baynard v. Malone, 268 F.3d 228, 237 (4th Cir. 2001) (“[T]he implied damages
        remedy is available only when the funding recipient engages in intentional
        conduct that violates the clear terms of the statute.” (cleaned up)). “When [a]
        municipality is acting under compulsion of state or federal law, it is the policy
        contained in that state or federal law, rather than anything devised or adopted
        by the municipality, that is responsible for the injury.” Bethesda Lutheran
        Homes & Servs., Inc. v. Leean, 154 F.3d 716, 718 (7th Cir. 1998). In Grimm,
        the Court found that the plaintiff had met the elements of a Title IX claim
        because a county school board policy excluded Grimm. 972 F.3d at 616-17, 619.
        But B.P.J. sued HCBOE only for enforcing the Act (as required); HCBOE is
        not responsible for injury that may flow from the Act, and it is entitled to
        summary judgment.

        Similarly, Stutler cannot be liable for a constitutional violation merely because
        she is obliged to enforce state law. Monell v. Dep’t of Soc. Servs. of City of
        N.Y., 436 U.S. 658, 690-91 (1978); Bruce & Tanya & Assocs. v. Bd. of
        Supervisors of Fairfax Cty., 854 F. App’x 521, 530-32 (4th Cir. 2021). “[A]
        plaintiff may challenge the constitutionality of a state law … by bringing suit
        against an official, in her official capacity, for enforcing or administering that
        law or rule. … If the plaintiff succeeds, any judgment against the official in her
        official capacity,” including an award of attorneys’ fees, “‘imposes liability on
        the entity that she represents.’” McGee v. Cole, 115 F. Supp. 3d 765, 772 (S.D.
        W. Va. 2015) (cleaned up). The Act requires Stutler to enforce it. W. VA. CODE
        §§ 18-2-25d(c), (d). If Stutler has enforced or may enforce the Act, her actions
        are taken solely as a state agent; she would be considered a state official rather
        than a county official. Thus, at most, Stutler may be subject to an injunction;
        she cannot be liable for enforcing the State’s Act, and any monetary award
        assessed against Stutler must be paid by the State.

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        WVSSAC has taken no action relative to B.P.J. The statute does not envision
        any role for WVSSAC. JA3510.

              A. WVSSAC raised more than state-actor arguments on summary
                 judgment.

              The district court erred in asserting that “WVSSAC only argues that it
        is not a state actor and is therefore not subject to scrutiny under either the
        Equal Protection Clause or Title IX.” JA4261. WVSSAC argued that B.P.J.

        “has not identified any illegal conduct on the part of WVSSAC” and that it has
        no actionable role under the Act. JA0492-0493. To prevail on an Equal
        Protection Claim, before reaching the “state action” analysis, B.P.J. must first

        prove that WVSSAC deprived B.P.J. of a constitutional right. Peltier, 37 F.4th
        at 115 (citing Mentavlos v. Anderson, 249 F.3d 301, 310 (4th Cir. 2001)). B.P.J.
        has not done so. WVSSAC has asserted repeatedly that none of its acts stands

        to be challenged or reviewed, as it has not acted and is not even alleged to have
        acted relative to B.P.J. JA0492. As for Title IX, WVSSAC has repeatedly
        emphasized that it has not excluded, denied benefits to, or discriminated

        against B.P.J. WVSSAC’s regulations “are gender neutral and therefore
        transgender neutral,” and “Plaintiff … has failed to prove that WVSSAC is a
        federally funded program.” JA0496, JA0491.

              WVSSAC argued that none of the relief B.P.J. seeks is available as
        against it, as WVSSAC has no authority to alter or amend the statute or the
        rules that may ultimately be promulgated by the State Board to implement

        the statute. JA0496-0498. The district court did not identify any action on the


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        part of WVSSAC that might have constituted a deprivation of B.P.J.’s
        constitutional or statutory rights, and B.P.J. has never identified any such

        conduct. Because WVSSAC has not acted at all, it cannot be a state actor in
        connection with B.P.J.’s claims.

              B. WVSSAC cannot be a state actor in the absence of any
                 challenged action.

              The district court’s determination that WVSSAC is a state actor has no

        basis in the record. WVSSAC is a nonprofit private corporation that provides
        organization and sponsorship of interscholastic sports programs in West
        Virginia. ECF No. 276-1, at WVSSAC000124; JA1377; State ex rel. WVSSAC

        v. Oakley, 164 S.E.2d 775, 777 (W. Va. 1968). B.P.J. identifies WVSSAC’s
        policies and forms as gender, and therefore transgender, neutral. JA0061.
        Even now, B.P.J. lauds WVSSAC’s preexisting internal policy “that [by

        B.P.J.’s own gloss] allowed transgender students to participate on teams
        consistent with their gender identity if their school allowed them to
        participate.” Opening.Br.12-14.

              B.P.J. has identified no “action” taken by WVSSAC relative to B.P.J.
        under the Act or otherwise sufficient to morph WVSSAC into a state actor.
        B.P.J conceded that WVSSAC had no input on enactment of the Act. JA4245.

        WVSSAC is not mentioned in the Act. JA3510. The Act provides for rules to
        be promulgated by the State Board. JA3510. They are then embedded by the
        State into WVSSAC’s rule books. JA1333, JA1385, JA1399, JA1478, JA1494-

        1495, JA1531-1532. Only the State Board can revise, amend, or provide


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        waivers. JA1401, JA1531-1532. The schools create team rosters based on
        information available to the schools alone. JA1332-1334.

              In Peltier, this Court held that “[i]n assessing a private actor’s
        relationship with the state for purposes of an Equal Protection claim, [the
        Court] must determine whether there is a sufficiently close nexus between the

        defendant’s challenged action and the state so that the challenged action may
        be fairly treated as that of the state itself.” 37 F.4th at 115 (cleaned up)
        (quoting Mentavlos, 249 F.3d at 314). What is missing here is any action by

        WVSSAC relative to B.P.J. or the Act, either actual or projected, such that no
        basis exists for advancing to Equal Protection or Title IX analysis.
              B.P.J. argues that the claims are valid against WVSSAC by relying on

        its enabling statute, West Virginia Code § 18-2-25, which B.P.J. argues
        authorizes WVSSAC to control, supervise, and regulate interscholastic
        athletic events. JA0415. In denying WVSSAC’s motion, the district court

        relied on a “pervasive entwinement” of WVSSAC and the State. But the Court
        overlooked the particulars of WVSSAC’s structure that are different from
        entities in decisions such as Brentwood Academy v. Tennessee Secondary

        School Athletic Association, 531 U.S. 288 (2001). And, without a “challenged
        action,” any inquiry into WVSSAC’s structure, or a sufficiently close nexus, or
        entwinement between the “defendant’s challenged action” and the State, is

        meaningless.
              Without recognizing the disconnect, the district court relies on
        Brentwood, in which the alleged “challenged action” is the sanction imposed


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        by the Athletic Association upon the Academy for alleged undue influence in
        recruiting. 531 U.S. at 293. The district court further relies on Peltier, supra,

        in which a dress code is the “challenged action.” B.P.J. relies on Communities
        for Equity v. Michigan High School Athletic Association, 80 F. Supp. 2d 729,
        735 (W.D. Mich. 2000), in which the “challenged action” was the Athletic

        Association’s alleged discrimination against female athletes inter alia by
        operating shorter seasons for female athletes. Among the authorities cited by
        the district court and B.P.J., none considers the instance of an entity that has

        undertaken no action at all. The district court identifies no “challenged action”
        undertaken by WVSSAC relative to B.P.J. that could serve as a predicate for
        the secondary analysis of whether such “challenged action” should be

        considered “state action.”
              WVSSAC ascribes to the spirit of Title IX but is not required by law to
        follow its precepts. WVSSAC voluntarily elects to follow Title IX given that

        its members (schools) are recipients of federal funding and therefore bound
        by Title IX. JA1425-1426. WVSSAC does not receive federal funding directly
        nor does it receive federal moneys from its members in the form of dues or

        otherwise. JA1378, JA4193; Smith v. NCAA, 266 F.3d 152, 156-57 (3d Cir.
        2001). B.P.J. asserts that the Title IX claim is actionable against WVSSAC
        based on West Virginia’s statutory delegation over federally funded programs.

        Opening.Br.47-48.    Such delegation does not exist as characterized, and
        further has been expressly found to be insufficient to turn its actions into




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        “color of law” such as to convert WVSSAC into a “state actor.” Smith, 266
        F.3d at 155.

              In Yellow Springs Exempted Village School District Board of
        Education v. Ohio High School Athletic Association, 647 F.2d 651 (6th Cir.
        1981), the Sixth Circuit considered the applicability and enforcement of Title

        IX relative to co-educational sports. In considering whether Title IX applied
        to the Ohio High School Athletic Association, the court noted that “recipients”
        bear ultimate responsibility for providing an equal educational opportunity.

        Id. at 656. The court concluded that the determination as to compliance with
        Title IX must be made by individual schools, not OHSAA. Id.
              Additionally, as WVSSAC receives none of the benefit of being a state

        actor—funding, immunities, and legislative protections—it falls outside the
        rubric of federal law, which generally assigns burden only where there is an
        assumed benefit. See, e.g., Estes v. Midwest Prods., Inc., 24 F. Supp. 2d 621,

        628 (S.D. W. Va. 1998).

              C. The case is inappropriate for pre-enforcement review as to
                 WVSSAC.

              WVSSAC has not acted and no evidence shows that WVSSAC would act
        in the future. The Act provides for rules to be promulgated by the State Board.

        JA3510. The school, not WVSSAC, has the responsibility of placing students
        on a boys’ or girls’ roster according to the applicable rules. The only potential
        future action by WVSSAC, which is entirely speculative and remote as it

        relates to B.P.J., is eligibility enforcement. However, eligibility enforcement


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        is not enough to convert WVSSAC into a state actor. Smith, 266 F.3d at 156,
        159 (2001) (quoting NCAA v. Tarkanian, 488 U.S. 179, 198 n.19 (1988)).

              Here, B.P.J. is attempting to litigate and challenge potential future
        action by WVSSAC that may never occur. To determine whether a case is ripe
        for pre-enforcement review, courts “balance the fitness of the issues for

        judicial decision with the hardship to the parties of withholding court
        consideration.” Miller v. Brown, 462 F.3d 312, 319 (4th Cir. 2006) (citation
        omitted); see Nat’l Park Hosp. Ass’n v. Dep’t of the Interior, 538 U.S. 803, 808

        (2003). A claim is unfit for adjudication where the possibility of injury is
        remote and the issues presented abstract. Texas v. United States, 523 U.S.
        296, 301 (1998) (“A claim is not ripe . . . if it rests upon ‘contingent future events

        that may not occur as anticipated, or indeed may not occur at all.’” (citation
        omitted)); Miller, 462 F.3d at 319.
              “[P]arties typically cannot circumvent a comprehensive statutory

        scheme by bringing a pre-enforcement challenge in district court to
        government action that has not yet affected them.” Nat’l Ass’n of Agric.
        Emples v. Trump, 462 F. Supp. 3d 572, 580 (D. Md. 2020). Even more so,

        parties cannot circumvent case and controversy and ripeness requirements to
        challenge non-action by a non-governmental entity that is not slated to act.
        Relative to WVSSAC, there is no “‘legal question [that] is ‘fit’ for resolution,”

        and delay would not mean hardship. Shalala v. Ill. Council on Long Term
        Care, 529 U.S. 1, 13 (2000) (quoting Abbott Laboratories v. Gardner, 387 U.S.
        136, 148-49 (1967)).


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              Relative to WVSSAC, B.P.J. has raised no issues for judicial decision—
        WVSSAC did not participate in passing the legislation, it is not referenced in

        the legislation, it has no role in promulgating regulations under the legislation.
        As WVSSAC has argued ab initio, none of the allegations nor the facts
        adduced render this matter fit for adjudication as against WVSSAC, given that

        the possibility of any injury by WVSSAC is remote and speculative. As argued
        below, B.P.J. has proven no facts that would make a claim against WVSSAC
        ripe for pre-enforcement review. JA0493; Air Evac. EMS, Inc., v. Cheatham,

        260 F. Supp. 3d 628, 636-37 (S.D. W. Va. 2017).

              D. The Court should vacate the district court’s ruling on WVSSAC.

              The inquiry separating state action from private action is “highly fact-
        specific in nature.” Peltier, 37 F.4th at 116. At the close of discovery, no party

        had identified any “challenged action” on the part of WVSSAC that might have
        violated B.P.J.’s rights. At best, if the district court found that a factual issue
        remained, it should have denied the motion on that basis. However, the

        affirmative finding that WVSSAC is a state actor, apparently in some
        universal sense divorced from any particular action, was unsupported,
        contrary to law and in error, premature, and unnecessary based on the record

        before the district court, and the court’s reliance otherwise on mootness should
        be vacated.




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                                      CONCLUSION

              This Court should affirm the district court’s judgment as to the

        constitutionality and lawfulness of the Act. The Court should reverse, or at
        least vacate, the order denying summary judgment as to WVSSAC.



        Dated: April 26, 2023




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                                         ADDENDUM

        W. Va. Code § 18-2-25d: Clarifying participation for sports events to be
        based on biological sex of the athlete at birth

        (a) The Legislature hereby finds:

           (1) There are inherent differences between biological males and biological
           females, and that these differences are cause for celebration, as determined
           by the Supreme Court of the United States in United States v. Virginia
           (1996);

           (2) These inherent differences are not a valid justification for sex-based
           classifications that make overbroad generalizations or perpetuate the legal,
           social, and economic inferiority of either sex. Rather, these inherent
           differences are a valid justification for sex-based classifications when they
           realistically reflect the fact that the sexes are not similarly situated in
           certain circumstances, as recognized by the Supreme Court of the United
           States in Michael M. v. Sonoma County, Superior Court (1981) and the
           Supreme Court of Appeals of West Virginia in Israel v. Secondary Schools
           Act. Com’n (1989);

           (3) In the context of sports involving competitive skill or contact, biological
           males and biological females are not in fact similarly situated. Biological
           males would displace females to a substantial extent if permitted to
           compete on teams designated for biological females, as recognized in Clark
           v. Ariz. Interscholastic Ass’n (9th Cir. 1982);

           (4) Although necessarily related, as concluded by the United States
           Supreme Court in Bostock v. Clayton County (2020), gender identity is
           separate and distinct from biological sex to the extent that an individual’s
           biological sex is not determinative or indicative of the individual’s gender
           identity. Classifications based on gender identity serve no legitimate
           relationship to the State of West Virginia’s interest in promoting equal
           athletic opportunities for the female sex; and

           (5) Classification of teams according to biological sex is necessary to
           promote equal athletic opportunities for the female sex.

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        (b) Definitions. -- As used in this section, the following words have the
        meanings ascribed to them unless the context clearly implies a different
        meaning:

           (1) “Biological sex” means an individual’s physical form as a male or female
           based solely on the individual’s reproductive biology and genetics at birth.

           (2) “Female” means an individual whose biological sex determined at birth
           is female. As used in this section, “women” or “girls” refers to biological
           females.

           (3) “Male” means an individual whose biological sex determined at birth is
           male. As used in this section, “men” or “boys” refers to biological males.

        (c) Designation of Athletic Teams. --

           (1) Interscholastic, intercollegiate, intramural, or club athletic teams or
           sports that are sponsored by any public secondary school or a state
           institution of higher education, including a state institution that is a
           member of the National Collegiate Athletic Association (NCAA), National
           Association of Intercollegiate Athletics (NAIA), or National Junior College
           Athletic Association (NJCAA), shall be expressly designated as one of the
           following based on biological sex:

              (A) Males, men, or boys;

              (B) Females, women, or girls; or

              (C) Coed or mixed.

           (2) Athletic teams or sports designated for females, women, or girls shall
           not be open to students of the male sex where selection for such teams is
           based upon competitive skill or the activity involved is a contact sport.

           (3) Nothing in this section shall be construed to restrict the eligibility of any
           student to participate in any interscholastic, intercollegiate, or intramural
           athletic teams or sports designated as “males,” “men,” or “boys” or


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           designated as “coed” or “mixed”: Provided, That selection for a team may
           still be based on those who try out and possess the requisite skill to make
           the team.

        (d) Cause of Action. --

           (1) Any student aggrieved by a violation of this section may bring an action
           against a county board of education or state institution of higher education
           alleged to be responsible for the alleged violation. The aggrieved student
           may seek injunctive relief and actual damages, as well as reasonable
           attorney’s fee and court costs, if the student substantially prevails.

           (2) In any private action brought pursuant to this section, the identity of a
           minor student shall remain private and anonymous.

        (e) The State Board of Education shall promulgate rules, including emergency
        rules, pursuant to § 29A-3B-1 et. seq. of this code to implement the provisions
        of this section. The Higher Education Policy Commission and the Council for
        Community and Technical College Education shall promulgate emergency
        rules and propose rules for legislative approval pursuant to § 29A-3A-1 et. seq.
        of this code to implement the provisions of this section.




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                           CERTIFICATE OF COMPLIANCE

              1.    This brief complies with Fed. R. App. P. 28.1(e)(2)(B) because it

        contains 15,177 words.

              2.    This brief complies with the typeface and type style requirements

        of Fed. R. App. P. 32(a)(5) and (6) because it was prepared in a proportionally

        spaced typeface using Microsoft Word in 14-point CenturyExpd BT font.

              Dated: April 26, 2023

                                                   /s/ Lindsay S. See
                                                       Lindsay S. See




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